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     IN THE DISTRICT COURT OF THE UNITED STATES FOR THE

        MIDDLE DISTRICT OF ALABAMA, NORTHERN DIVISION


UNITED STATES OF AMERICA,            )
                                     )
       Plaintiff,                    )
                                     )         CIVIL ACTION NO.
       v.                            )           2:15cv368-MHT
                                     )                (WO)
STATE OF ALABAMA and                 )
ALABAMA DEPARTMENT OF                )
CORRECTIONS,                         )
                                     )
       Defendants.                   )


                                  ORDER

       The court found that the recent status conference,

held    by    videoconference      on    September     29,    2020,      was

extremely useful in facilitating the court’s oversight

of the consent decree and this litigation in general.

The court hopes that the discussion helped move this

litigation closer to its resolution.

       Accordingly,     it   is    ORDERED     that   another       status

conference      is   set   for    September    29,    2021,    at    10:00

a.m., by videoconferencing.              The clerk of the court is

to     make   appropriate        arrangements.         On     or    before

September 24, 2021, the parties are instructed to file
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a joint report explaining their understanding of the

current status of the understaffing issue.

    DONE, this the 1st day of October, 2020.

                                   /s/ Myron H. Thompson
                                UNITED STATES DISTRICT JUDGE
